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                                                              U.S. v. [73} Nelson L, Cuev:�•Ocasio, 19-121 (GAG)
                                                                                                             Date:
                                                                                                             2/9/2022
                     IN THE UNITED STAT.ES DISTRICT COURT                                                    By: Reina Alvarez
                       FOR. THE DISTRICT OF PUERTO RICO                                                      Courtroom Deputy


      UNITED STATES OF AMERICA,                              CRIMINAL NO. 19-121 (GAG)
      Plaintiff,

                              v.
      [73] NELSON L. CUEVAS-OCASIO,
      a/k/a "LuliH
      Defendant.

                         PLEA AND FORFEITURE AGREEiv.lENT

    TO THE HONORABLE COUllT:

          The United States of America, Defendant, [73] NELSON L. CUEVAS-                       •
                                                                                                         I




                                            '
    OCASIO, and Defendant's counsel, Ian C. Garcia-Ferreras, Esq., pursuant to Federal

    Rule of Criminal Procedure 11,     sJ;"\hn�R"Tu.ve reached a Plea Agreement,. the
                    •.             •    -;.:u_,;J ..r.,·L-- .£ , ...
    tenns and conditions ofwh1ch are as.follows:

       1. Charges tQ which Defendant will Pleatjl Guilty

{         Defendant agrees to plead guilty to Count One of _the Indictment: •.
                                                     I

          Count One: of the Indictment charges that from in or about the yea-,: 2006; and
                                                                                                    ·.
                                                                                                             .




    continuing up to and until the return of the instant Indictment, in the Municipality of

    S� Juan, District of Puerto Rico and withi� the jurisdictjon of this Court, [73]

    NELSON .L. CUEVAS-OCASIO, and other persons1 did knowingly and

    intentionally, combine, co�pire, and agree with each other and with diverse
                                                                        .
                                                                                otp.er
                                                                                  ,,
                                                                                                                 .
                                                         I

    persons known and unknown to the Grand Ju,ry, t9 commit an offense aga_inst the

    United States, that is, to knowingly and intentiG>nally possess with intent to distribute


    USAO-DPR-Plea Agreement                                                                              Pagel 1
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